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                          UNITED STATES DISTRICT COURT                           U.S. DISTRICT COURT – N.D. OF N.Y.

                                  Northern District of New York                           FILED
                                       6th Judicial Division
                                                                                     May 09 - 2025

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_______________________________________
                                       )
JANE DOE, JOHN DOE                      )
                                       )                       Case No.3:24-cv-274 (MAD/ML)
                                       )
                    Plaintiffs          )
                                       )
         -against-                     )
                                       )                       REQUEST TO ENTER
                                       )                       DEFAULT
                                       )
                                       )
JONATHAN REES aka GREG ELLIS           )
aka JOHNATHAN REES aka JONNY REES      )
aka JACOB LORENZO                      )
                                       )
                    Defendant           )
______________________________________ )



      APPLICATIO FOR ETRY OF DEFAULT AD SUPPORTIG AFFIDAVIT


       COME NOW the Plaintiffs, Jane Doe and John Doe, Pro Se., kindly requests the Clerk,

pursuant to Rules of Civil Procedure, to enter default against Defendant Jonathan Rees aka Greg

Ellis aka Johnathan Rees aka Jonny Rees aka Jacob Lorenzo, in the above entitled action for

failure to plead, answer or otherwise defend as set forth in the Supporting Affidavit attached

hereto. The party against whom it seeks a judgment of affirmative relief is not an infant, in the

military, or an incompetent person.




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Dated: Broome County, New York

May 9th, 2025

                                                          Respectfully submitted,



                                                       ______________________

                                                                        Jane Doe




                                     2
